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                                                   Discover         Design         Develop          Distribute              Support            Account


                          App Store                                                                   Overview   Features     Articles   Guidelines   Developer Insights




                                                              Choosing a Category
                                                 Categories on the App Store and Mac App Store help users discover
                                                new apps to fit their needs. Learn how to choose the most accurate and
                                                                    effective categories for your app.




                          Where Categories Are Displayed
                          You can assign two categories to your app — a primary and a secondary category. The primary category
                          you select is particularly important for your appʼs discoverability on the App Store. This will be the
                          category in which the app appears when users browse the App Store or filter search results, and it
                          determines placement on the Apps tab or Games tab on the App Store for iPhone and iPad.

                          For Mac apps, the primary category you select is also the category in which the app appears when users
                          browse the Mac App Store or filter search results, and it determines placement in the Categories tab on
                          the Mac App Store in macOS 10.14 or later.




                          Choosing a Primary Category
                          Letʼs say you have a photo-sharing social networking app. For the App Store, you could choose either
                          Photo & Video or Social Networking as your primary category. To decide which category will best serve
                          your app, consider the following:

                             Your appʼs purpose. Your primary category should be the one that best describes the main function or
                             subject matter of your app.

                             Where users naturally look for an app like yours. Understanding your audience will help you identify
                             the category in which they will likely look for your app. Will they consider your app to be more of a
                             social network app or a photography app?

                             Which categories contain the same type of apps as yours. Research how similar apps are
                             categorized — users may already know to visit these categories to find this type of app.

                          Make sure that the category you choose accurately reflects your appʼs core experience. Choosing
                          categories that are not appropriate for your app is against the App Store Review Guidelines.


https://developer.apple.com/app-store/categories/                                                                                                                          1/4
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                          Special Cases
                                                                                                                                     Building a Business in the Kids Category
                          Apps for Kids
                                                                                                                                     Originator shares its approach to building a
                          If you have an app designed for kids ages 11 and under, select the Made
                                                                                                                                     sustainable business in the Kids category and
                          for Kids checkbox in App Store Connect and choose an appropriate age
                                                                                                                                     how it got the word out about its Endless apps.
                          band (5 and under, 6–8, or 9–11). Your app must comply with the App
                          Review Guidelines for Kids apps and will go through review to be




                                                                                                                                                          
                          approved for the Kids category on the App Store. In addition to the Kids
                          category, your app can be discovered in another primary and secondary
                          category (for example: Games, Entertainment, or Education). For more
                          details, see Building Apps for Kids.

                          Games
                          If your app is a game, you can choose up to two Games subcategories.
                          Users can find your app by browsing the subcategories on the
                          App Store and in the Games subcategory charts. If you donʼt know
                          which subcategory best suits your game, research the types of games
                          in each one before making your selection.

                          Stickers
                          On the App Store for iMessage, you can assign your sticker pack app to
                          a category called Stickers, or to another primary category that best
                          describes your app. If you use the Stickers category, you can also
                          select a Stickers subcategory. Standalone sticker pack apps are not
                          displayed in categories on the App Store for iPhone and iPad — they are
                          discoverable only in search results. Categories for iOS app with
                          iMessage extensions are taken from the iOS app and are used on the
                          App Store for iPhone, iPad, and iMessage. For more details, see
                          iMessage Apps and Stickers.




                                                                                     Compare Categories
                                                              Explore and compare categories to see which best describes your app.




                               Books                                                                         Medical
                               Apps that provide extensive interactivity for content                         Apps that are focused on medical education,
                               that is traditionally offered in printed form. If youʼre                      information management, or health reference for
                               planning a more traditional reading experience, you                           patients or healthcare professionals.
                               may want to look at publishing an iBook instead.                              For example: skeletal, muscular, anatomy, medical record-keeping,
                                                                                                             diseases, symptom reference, companion devices (blood pressure, pulse,
                               For example: stories, comics, eReaders, coffee table books, graphic novels.
                                                                                                             and so on), health tracking.



                               Business                                                                      Music
                               Apps that assist with running a business or provide a                         Apps that are for discovering, listening to, recording,
                               means to collaborate, edit, or share content.                                 performing, or composing music, and that are
                               For example: document management (PDFs, scanning, file viewing/editing),      interactive in nature.
                               VoIP telephony, dictation, remote desktop, job search resources, customer
                               resource management, collaboration, enterprise resource planning, point of    For example: music creation, radio, education, sound editing, music
                               sale.                                                                         discovery, composition, lyric writing, band and recording artists, music
                                                                                                             videos and concerts, concert ticketing.


                               Developer Tools
                                                                                                             Navigation
                               Apps that provide tools for app development,
                                                                                                             Apps that provide information to help a user travel to a
                               management, and distribution.
                                                                                                             physical location.
                               For example: coding, testing, debugging, workflow management, text and
                               code editing.                                                                 For example: driving assistance, walking assistance, topographical maps,
                                                                                                             maritime, pilot logs/assistance, oceanic tides, road atlas, fuel finders, public
                                                                                                             transit maps.

                               Education
                               Apps that provide an interactive learning experience                          News
                               on a specific skill or subject.                                               Apps that provide information about current events or
                               For example: arithmetic, alphabet, writing, early learning and special        developments in areas of interest such as politics,
                               education, solar system, vocabulary, colors, language learning,
                               standardized test prep, geography, school portals, pet training, astronomy,   entertainment, business, science, technology, and so
                               crafts.                                                                       on. Choose News if your app serves content via
                                                                                                             newsreader or digest format, or if your app is for a
                               Entertainment                                                                 digital-first or broadcast-first media outlet with
                                                                                                             frequent content updates.


https://developer.apple.com/app-store/categories/                                                                                                                                               2/4
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                                                                                                              For example: television, video, radio, or online news outlets or programs,
                               Apps that are interactive and designed to entertain
                                                                                                              RSS readers.
                               and inform the user, and which contain audio, visual,
                               or other content.
                                                                                                              Photo & Video
                               For example: television, movies, second screens, fan clubs, theatre,
                               ringtones, voice manipulation, ticketing services, art creation.               Apps that assist in capturing, editing, managing,
                                                                                                              storing, or sharing photos and videos.
                               Finance                                                                        For example: capture, editing, special effects, sharing, imaging, printing,
                                                                                                              greeting card creation, manuals.
                               Apps that perform financial transactions or assist the
                               user with business or personal financial matters.
                               For example: personal financial management, mobile banking, investment,
                                                                                                              Productivity
                               bill reminders, budgets, debt management, tax, small business finance,         Apps that make a specific process or task more
                               insurance.
                                                                                                              organized or efficient.
                                                                                                              For example: task management, calendar management, translation, note
                               Food & Drink                                                                   taking, printing, password management, cloud storage, email clients, flow
                                                                                                              chart generators, audio dictation, simulation, data viewing.
                               Apps that provide recommendations, instruction, or
                               critique related to the preparation, consumption, or
                               review of food or beverages.                                                   Reference

                               For example: recipe collections, cooking guides, restaurant reviews,
                                                                                                              Apps that assist the user in accessing or retrieving
                               celebrity chefs/recipes, dietary & food allergy, alcohol reviews, brewery      information.
                               guides, international cuisine.
                                                                                                              For example: atlas, dictionary, thesaurus, quotations, encyclopedia, general
                                                                                                              research, animals, law, religion, how-tos, politics.

                               Games
                               Apps that provide single or multiplayer interactive                            Safari Extensions (macOS only)
                               activities for entertainment purposes.                                         Apps that offer extensions to help enhance and
                               For example: action, adventure, board, card, family, music, puzzle, racing,    customize the web browsing experience on Safari.
                               role playing, simulation, sports, strategy.
                                                                                                              For example: content bookmarkers, password managers, adblockers,
                                                                                                              savings finders.

                               Graphics & Design
                               Apps that provide tools for art, design, and graphics                          Shopping
                               creation.                                                                      Apps that support the purchase of consumer goods or
                               For example: vector graphic design, image editing, drawing and illustration.   materially enhance the shopping experience.
                                                                                                              For example: commerce, marketplace, coupon, product review, apps with
                                                                                                              Apple Pay.
                               Health & Fitness
                               Apps related to healthy living, including stress
                               management, fitness, and recreational activities.                              Social Networking

                               For example: yoga, muscle diagrams, workout tracking, running, cycling,        Apps that connect people by means of text, voice,
                               stress management, pregnancy, meditation, weight loss, pilates,                photo, or video. Apps that contribute to community
                               acupuncture/acupressure, Eastern/Chinese medicine.
                                                                                                              development.
                                                                                                              For example: interpersonal connections, text messaging, voice messaging,
                               Lifestyle                                                                      video communication, photo & video sharing, dating, blogs, special interest
                                                                                                              communities, companion apps for traditional social networking services.
                               Apps relating to a general-interest subject matter or
                               service.
                               For example: real estate, crafts, hobbies, parenting, fashion, home
                                                                                                              Sports
                               improvement.                                                                   Apps related to professional, amateur, collegiate, or
                                                                                                              recreational sporting activities.
                               Kids (iOS and iPadOS only)                                                     For example: fantasy sports companions, college teams/conference,
                                                                                                              professional teams/leagues, athletes, score trackers, instruction, sports
                               Apps designed specifically for children ages 11 and                            news.
                               under. Age-appropriate apps must be placed in one of
                               three age bands based on their primary audience: 5
                                                                                                              Travel
                               and under, 6–8, or 9–11.
                                                                                                              Apps that assist the user with any aspect of travel,
                               For example: age-appropriate games, interactive stories, educational
                               materials, magazines.                                                          such as planning, purchasing, or tracking.
                                                                                                              For example: flight tracking, multi-time clocks, city guides, hotel/rental
                                                                                                              car/air fare shopping, vacation planning, public transportation, travel
                               Magazines & Newspapers                                                         rewards.

                               Apps that offer auto-renewing subscriptions to
                               magazine or newspaper content. Choose Magazines &                              Utilities
                               Newspapers if you deliver content using an issue-                              Apps that enable the user to solve a problem or
                               based strategy or are producing interactive versions of                        complete a specific task.
                               a printed periodical.                                                          For example: calculators (standard, tip, financial), clocks, measurement,
                               For example: newspapers, magazines, other recurring periodicals.               time, web browsing, flashlights, screen locks, barcode scanners, unit
                                                                                                              conversion tools, password management, remote controls.



                                                                                                              Weather
                                                                                                              Apps that provide forecasts, alerts, and information
                                                                                                              related to weather conditions.
                                                                                                              For example: radar, forecast, storms, tides, severe weather, local weather.




                                              Related



https://developer.apple.com/app-store/categories/                                                                                                                                            3/4
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                                                      Mac App Store
                                                      Optimizing Your Product Page
                                                      App Store Review Guidelines
                                                      App Ratings
                                                      App Information
                                                      Overview of maintaining an app




                                        Submit                                         Manage                                    Promote                              Get Help
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                           for submission to the App Store.                   reports, agreements, tax and           to help you promote your app on    team can help by phone or email.
                                                                             banking information, and more.                   the App Store.
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                                                                                      Learn more                               Learn more 




                                               App Store      Categories and Discoverability


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                          Business                           Accessories                                                         Trademark Licensing     Profiles
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                          WWDC



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